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PROPOSED ATTORNEYS FOR KRIS U HOS PITALITY, LLC
DEBTOR AND DEBTOR IN POSSESSION

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION
IN RE: §
§ Case No. 19-20347
KRISU HOSPITALITY, LLC , § (Chapter 11)
§
Debtor. § EXPEDITED HEARING REQUESTED
§

 

MOTION TO MAINTAIN BANK ACCOUNTS
TO THE HONORABLE ROBERT L. JONES, U.S. BANKRUPTCY JUDGE:
Krisu Hospitality, LLC debtor and debtor in possession (“Krisu” or the “Debtos’’) file this
Motion to Maintain Bank Accounts (the “Motion to Maintain Bank Accounts’) and in
support thereof would show the Court the following.

INTRODUCTION

l. This motion seeks authorization for the Debtor to maintain its deposit accounts at
Centennial Bank and Happy State Bank through at least December 15, 2019 and/or until the Debtor is

able to transition to an authorized debtor in possession depository bank.

 

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JURISDICTION AND VENUE

2. The Court has jurisdiction over this action pursuant to, and without limitation §§ 105,
363, 507, and 110! et seq. of the United States Bankruptcy Code, 11 U.S.C. § 101 et seq. (the
“Code”.

3. Venue action is proper in this Court pursuant to 28 U.S.C. § 1409.

4. The Court may try this action to a conclusion and enter final orders under Stern v.
Marshall, 131 8. Ct. 2594 (U.S. 2011).

FACTUAL BACKGROUND
The identify and background of the Debtors and Debtors in Possession.

5. Krisu constructed, and owns and operates the LaQuinta Inn & Suites hotel m Pampa,
Texas.

The Commencement of the Bankruptcy Case.

6, On November 4, 2019, Krisu commenced the above-captioned Chapter 11 case by
filing a voluntary petition.

7. The factors leading to the commencement of this case include the (1) lingermg effects of
replacement of the original general contractor and delayed openmg of the hotel, (2) changes in the
Choice- Wyndham reservations and payment system which interrupted receipts on corporate accounts,
and (3) difficult economic conditions in the rural Texas Panhandle resulting from fluctuations in the
energy industry.

Factual background in support of the relief requested.
8. Krisu maintains its primary operating account at Centennial Bank.

9. Krisu maintains its cash deposits accounts at Happy State Bank.

 

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10. A limited number of authorized debtor in possession depository bank branch offices

exist with offices located in the Amarillo Division,
RELIEF REQUESTED

11. Accordingly, pursuant to Code §§ 105 and/or 363, Krisu respectfully requests that
Krisu its deposit accounts at Centennial Bank and Happy State Bank through at least December 15,
2019 and/or until the Debtor is able to transition to an authorized debtor m possession depository bank
without the necessity of opening separate, new debtor-in-possession accounts, but subject to
appropriate designations and/or markings on the accounts and or any checks to reflect the bankruptcy
case.

12. A proposed form of final order accompanies this Motion to Mamtam Bank Accounts
and is incorporated by reference herem.

BASIS OF RELIEF

13. Maintenance of the two bank accounts will greatly aid in the admmistration of this case,
penmit Krisu to conduct uninterrupted business operations, and. reduce the immediate burden on Krisu.

14. Furthermore, only a stall handful of branch offices exist in the Amarillo Division of the
banks on the U.S. Trustee authorized list. .

RESERVATION OF RIGHTS

15. Krisu reserves the right to amend and/or supplement this Motion to Maintain Bank

Accounts prior to any hearmg.

 

' See Atips://www-justice.gov/ust-regions-r06/file/authorized_depesitory pdfdownload.

 

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NOTICE

16. Krisu through the undersigned counsel has provided notice of this Motion to Mamtam
Bank Accounts and the related request for an expedited hearing to the parties entitled to notice under
L.B.R. 9007-1 (b) and by electronic means where available.
17. As indicated below, a Certificate of Service separate from this Motion to Mamtain
Bank Accounts will be filed.
CONCLUSION AND PRAYER
WHEREFORE, Krisu Hospitality, LLC, the debtor and debtor-in-possession, respectfully
requests that the Court enter an order granting the Motion to Maintain Bank Accounts
and the relief requested herein. Debtor respectfully request that the Court grant to
Debtor such other and further reliefto which the Debtor is entitled at law or m equity.
Dated: November 6, 2019 Respectfully submitted:

SWINDELL LAW FIRM

By:  /Patrick A. Swindell

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PROPOSED ATTORNEYS FOR KRISU
HOSPITALITY, LLC , DEBTOR AND DEBTOR IN
POSSESSION

CERTIFICATE OF SERVICE

A separate Certificate of Service will be filed.

‘sf Patrick A. Swindell

 

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PROPOSED FINAL ORDER

 

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